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            8                                UNITED STATES DISTRICT COURT
            9                             NORTHERN DISTRICT OF CALIFORNIA
           10                                     SAN FRANCISCO DIVISION
           11

           12    ORACLE AMERICA, INC., a Delaware
                 corporation; ORACLE INTERNATIONAL           CASE NO. 3:16-cv-01393-JST
           13    CORPORATION, a California corporation,
                                                             [PROPOSED] FINAL JUDGMENT
           14                       Plaintiffs,
           15          v.
           16    HEWLETT PACKARD ENTERPRISE
                 COMPANY, a Delaware corporation; and
           17    DOES 1-50,
           18                       Defendants.
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Crutcher LLP
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            1           Pursuant to the Court’s Order Granting Defendant Hewlett Packard Enterprise Company’s
            2    (“HPE”) Motion for Summary Judgment and Denying Plaintiffs Oracle America, Inc. and Oracle
            3    International Corporation’s (together, “Oracle”) Cross-Motion, it is hereby ORDERED, ADJUDGED,
            4    AND DECREED as follows:
            5           Final judgment is entered in favor of HPE and against Oracle on all of Oracle’s claims: direct,
            6    contributory, and vicarious copyright infringement; intentional interference with contract; intentional
            7    interference with prospective economic relations; and unfair competition. Oracle is entitled to no relief
            8    on Oracle’s claims.
            9

           10                   IT IS SO ORDERED.
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           12    Dated: ____________________
                          February 20, 2019

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                                                                     Honorable Jon S. Tigar
           14                                                        United States District Judge
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Gibson, Dunn &
Crutcher LLP                                                        2
